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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


 Civil Action No. 18-cv-01987-KMT

 ERIC TYLER VETTE,

        Plaintiff,

 v.

 K-9 UNIT DEPUTY SANDERS,

        Defendant.



                         AMENDED SCHEDULING ORDER


             1. DATE OF CONFERENCE AND APPEARANCES OF COUNSEL

        Pursuant to the Court’s April 7, 2021 Order, a Scheduling Conference was not set

 at this time. The Parties will be represented in this case as follows:


        For Plaintiff:

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        For Defendant Sanders:

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                              2. STATEMENT OF JURISDICTION

        Plaintiff has asserted a violation of his constitutional rights pursuant to 42 U.S.C.

 § 1983. As such, Plaintiff has presented a federal question over which this Court properly

 has jurisdiction pursuant to 28 U.S.C. § 1331.

        Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All of

 the events alleged herein occurred within the state of Colorado, and at the time of the

 events giving rise to this litigation, all of the parties resided in Colorado.

                        3. STATEMENT OF CLAIMS AND DEFENSES

    a. Plaintiff:

        This case concerns the use of excessive force by Defendant against Plaintiff in

 violation of the Fourth Amendment.




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        On December 31, 2017, Steve Gustin, a sergeant with the Montrose County

 Sheriff’s Department, observed Plaintiff driving on a public road in Montrose, Colorado.

 Sergeant Gustin attempted to pull Plaintiff over to run a warrant check. Plaintiff drove

 away, and Sergeant Gustin pursued. Plaintiff then drove into a field and fled on foot;

 Sergeant Gustin continued his pursuit. Defendant Sanders and his police dog, Oxx,

 arrived at the field after Sergeant Gustin.

        Sergeant Gustin and another deputy—Dustin Horn—apprehended Plaintiff. After

 Plaintiff was apprehended, Defendant punched Plaintiff, struck him in the face with a dog

 chain, and caused his police dog Oxx to attack and bite him, injuring him and violating

 clearly established law.

    b. Defendant:

        Sergeant Sanders denies the allegations in Plaintiff’s Complaint. Sergeant

 Sanders has not filed an answer yet because he filed a motion to dismiss addressing

 qualified immunity that was denied and that was the subject of an interlocutory appeal.

 The Tenth Circuit affirmed and the case was just recently remanded.             Accordingly,

 Sergeant Sanders will file an Answer by April 23, 2021 that will plead any affirmative

 defenses that still apply following remand.

                                   4. UNDISPUTED FACTS

        The following facts are undisputed:

        1.     At all times relevant to this action, Plaintiff was a resident of and domiciled

 in the State of Colorado.




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        2.      At all times relevant to this action, Defendant was a resident of and

 domiciled in the State of Colorado.

        3.      On December 31, 2017, Oxx was a police dog with the Montrose County

 Sheriff’s Office.

        4.      On December 31, 2017, Defendant Keith Sanders was a Sergeant with

 the Montrose County Sheriff’s Office.

        5.      On December 31, 2017, Steve Gustin was a deputy with the Montrose

 County Sheriff’s Office.

        6.      On December 31, 2017, Defendant Sanders was Oxx’s handler.

                              5. COMPUTATION OF DAMAGES

        Plaintiff claims compensatory damages (including, but not limited to, those for past

 and future pecuniary and non-pecuniary losses, emotional distress, suffering, loss

 inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary

 losses), declaratory relief and injunctive relief, including prospective injunctive relief, as

 appropriate, punitive damages for all claims allowed by law in an amount to be determined

 at trial, as well as attorneys’ fees and costs, pre-judgment and post-judgment interest at

 the highest lawful rate, and all other damages and relief legally recoverable including

 equitable relief. A more precise computation of Plaintiff’s damages is subject to such

 computation, may be provided during the normal course of discovery, and will further be

 determined by a jury in its sound discretion following a presentation of the evidence at

 trial in this matter.

  6.      REPORT OF PRE-CONFERENCE DISCOVERY & MEETING UNDER FED. R.
                               CIV. P. 26(f)


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         a. Date of Rule 26(f) meeting.

        The Fed. R. Civ. P. 26(f) meeting was held by videoconference on April 16, 2021.


         b. Names of each participant and party he/she represented.
        The following counsel participated in the meeting: Felipe Bohnet-Gomez

 represented Plaintiff. Andrew McLetchie and Eden Rolland represented Defendant.

         c. Statement as to when Rule 26(a)(1) disclosures were made or will be made.
        Both Parties will produce Rule 26(a)(1) initial disclosures on Friday, April 30, 2021.

         d. Proposed changes, if any, in timing or requirement of disclosures under Fed.
            R. Civ. P. 26(a)(1).
        There are no proposed changes in requirement of disclosures under Fed. R. Civ.

 P. 26(a)(1).

         e. Statement concerning any agreements to conduct informal discovery:

        The Parties do not have any agreements to conduct informal discovery.

         f. Statement concerning any other agreements or procedures to reduce
            discovery and other litigation costs, including the use of a unified exhibit
            numbering system.

        The Parties have agreed to use unified exhibit numbering system. Further, the

 Parties agree to take all reasonable steps to reduce discovery and reduce costs.

         g. Statement as to whether the parties anticipate that their claims or defenses
            will involve extensive electronically stored information, or that a substantial
            amount of disclosure or discovery will involve information or records
            maintained in electronic form.

        The Parties do not anticipate that this case will involve a significant amount of ESI.

 Defendant does not believe there is any ESI but will produce and disclose any relevant

 ESI.

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         h. Statement summarizing the parties’ discussions regarding the possibilities
            for promptly settling or resolving the case.

        The Parties continue to engage in discussions regarding the possibility of settling

 or resolving the case.


                                          7. CONSENT

        All parties have consented to the exercise of jurisdiction of a magistrate judge.

                                 8. DISCOVERY LIMITATIONS

         a. Modifications which any party proposes to the presumptive numbers of
            depositions or interrogatories contained in the Federal Rules.

        The Parties do not propose any modifications.

        On July 26, 2021, the parties propose modifications to the number and length of

 depositions. The parties also propose and stipulate to limiting the trial to one day, and

 that the trial should be a bench trial rather than a jury trial.

         b. Limitations which any party proposes on the length of depositions.

        Plaintiff’s statement as to deposition length: Plaintiff requests to limit the length of

 depositions to seven (7) hours of actual deposition time.

        Defendant’s statement as to deposition length: Defendant requests to limit the

 length of depositions to four (4) hours of actual deposition time.

        As of July 26, 2021, the parties stipulate and agree to limit the length of depositions

 to two (2) hours of actual deposition time per deponent.

         c. Limitations which any party proposes on the number of requests for
            production and/or requests for admission.




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        The Parties propose a limit of twenty-five (25) requests for production and twenty-

 five (25) requests for admission per side.

         d. Deadline for service of Interrogatories, Requests for Production of
            Documents and/or Admissions:

        Monday, September 12, 2021.

         e.     Other Planning or Discovery Orders

        The Parties discussed Plaintiff’s need for discovery of records from the Montrose

 County Sheriff’s Office, and of testimony from employees of the Montrose County Sheriff’s

 Office. Counsel for Defendant are in contact with the Montrose County Attorney and have

 agreed to respond to any discovery requests for Montrose County Sheriff’s Office records

 that is served on Defendant.

        Defendant wishes to take the deposition of the Plaintiff, Eric Tyler Vette. Plaintiff is

 currently incarcerated in the Colorado Department of Corrections, Sterling Correctional

 Facility. For this reason, Defendant plans to file a motion pursuant to Fed. R. Civ. P.

 30(a)(2)(B) requesting Plaintiff’s deposition. Plaintiff’s counsel has indicated that such a

 motion is unopposed and that Plaintiff’s counsel will coordinate with the Department of

 Corrections concerning the logistics for taking the deposition. Currently, counsel for the

 parties are in the process of identifying available dates for the deposition.


                                9. CASE PLAN AND SCHEDULE

         a. Deadline for Joinder of Parties and Amendment of Pleadings:

        Thursday, June 3, 2021.

         b. Discovery Cut-off:
        Friday, October 22, 2021.

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         c. Dispositive Motion Deadline:
        Because Defendant has already filed a motion for summary judgment, Doc. No.

 29, he may not file another “without first seeking permission from the Court.” KMT Civ.

 Practice Standard III.B. Therefore, the Parties propose a deadline of Friday, October 29,

 2021 by which Defendant must file any motion seeking such permission, and a deadline

 of Friday, November 19, 2021 by which Plaintiff may file any dispositive motion.

         d. Expert Witness Disclosure

                1.       The parties shall identify anticipated fields of expert testimony, if
                any.

        Plaintiff’s statement as to experts: Plaintiff anticipates retaining currently does not

 plan to retain an expert but nevertheless reserves the right to retain experts to testify with

 respect to the fields of police use of force, police dog training, and with respect to Plaintiff’s

 damages.

        Defendants’ statement as to experts: Defendant anticipates retaining a rebuttal

 expert in any field designated by Plaintiff.

                2.     Limitations which the parties propose on the use or number of
                expert witnesses.

        The Parties propose a limit of two (2) retained experts per side, not including

 rebuttal experts. The Parties propose rebuttal expert limitations of one rebuttal expert in

 response to each affirmative expert.

        As of July 26, 2021, the parties stipulate and agree that experts will not be retained

 or used in this case.




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               3.     The parties shall designate all experts and provide opposing
               counsel and any pro se parties with all information specified in Fed. R. Civ.
               P. 26(a)(2) on or before:

        Thursday, August 19, 2021.

        As of July 26, 2021, the parties stipulate and agree that experts will not be retained

 or used in this case.

               4.    The parties shall designate all rebuttal experts and provide
               opposing counsel and any pro se party with all information specified in
               Fed. R. Civ. P. 26(a)(2) on or before:

        Thursday, September 9, 2021.

        As of July 26, 2021, the parties stipulate and agree that experts will not be retained

 or used in this case.

         e. Identification of Persons to Be Deposed:

 Preliminary List of Plaintiff’s Depositions:

  Name of Deponent                       Expected Length of Deposition

  Defendant Keith Sanders                7 hours 2 hours
  Steve Gustin                           7 hours 2 hours
  Dustin Horn                            7 hours 2 hours
  Montrose County Sheriff’s Office       7 hours
  30(b)(6) Designee(s)
  Unknown EMT Technician(s)              4 hours 2 hours


 Preliminary List of Defendant’s Depositions:

   Name of Deponent                       Expected Length of Deposition
  Eric Tyler Vette                        7 hours 2 hours
  Emergency Department physician or       1-2 hours
  other health care provider who examined
  Plaintiff at Montrose Memorial Hospital

                         10. DATES FOR FURTHER CONFERENCES


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  a. Status conferences will be held in this case at the following dates and times:

                                                                                             .

  b. A final pretrial conference will be held in this case on ____________at o’clock _____m.
     A Final Pretrial Order shall be prepared by the parties and submitted to the court no later
     than seven (7) days before the final pretrial conference.


                               11. OTHER SCHEDULING MATTERS

         a.      Identify those discovery or scheduling issues, if any, on which counsel
         after a good faith effort, were unable to reach an agreement.

         There are no discovery or scheduling issues at this time on which counsel were

  unable to reach an agreement.

         b.      Anticipated length of trial and whether trial is to the court or jury.

         The Parties anticipate a three one (31) day bench-trial. A jury demand has not yet

  been made. Although Defendant previously made a jury demand in Defendant’s Answer,

  Defendant hereby withdraws that jury demand pursuant to the parties’ stipulation to a

  bench trial.

         c.      Identify pretrial proceedings, if any, that the parties believe may be more
         efficiently or economically conducted in the District Court’s facilities at 212 N.
         Wahsatch Street, Colorado Springs, Colorado 80903-3476; Wayne Aspinall U.S.
         Courthouse/Federal Building, 402 Rood Avenue, Grand Junction, Colorado
         81501-2520; or the U.S. Courthouse/Federal Building, La Plata County Courthouse
         1060 E. 2nd Avenue, Suite 150, Durango, Colorado 81301.

         None.

                          12. NOTICE TO COUNSEL AND PRO SE PARTIES




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            The parties filing motions for extension of time or continuances must comply with

  D.C.COLO.LCivR 6.1(c) by serving the motion contemporaneously upon the moving

  attorney's client.

            Counsel will be expected to be familiar and to comply with the Pretrial and Trial

  Procedures or Practice Standards established by the judicial officer presiding over the

  trial of this case.

            With respect to discovery disputes, parties must comply with D.C.COLO.LCivR

  7.1(a).

            Counsel and unrepresented parties are reminded that any change of contact

  information must be reported and filed with the Court pursuant to the applicable local rule.


                             13. AMENDMENTS TO SCHEDULING ORDER

            The Scheduling Order may be altered or amended only upon a showing of good

  cause.


            DATED at Denver, Colorado, this _____ day of ______________, 2021.




                                             Hon. Kathleen M. Tafoya
                                             United States Magistrate Judge


  SCHEDULING ORDER APPROVED:

  For Plaintiff:

  s/ Felipe Bohnet-Gomez
  Felipe Bohnet-Gomez
  RATHOD | MOHAMEDBHAI LLC


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